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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       Case No. 18-23330-Civ-COOKE/GOODMAN

  FERYAL MOHAMMAD and
  WAJDAN MOHAMMAD,

          Plaintiff,

  vs.

  BANK OF AMERICA, N.A.,

        Defendant.
  ___________________________________/
                                   ORDER OF DISMISSAL
          THIS CASE has been DISMISSED with prejudice under Federal Rule of Civil
  Procedure 41(a)(1)(A)(ii), with each party to bear their own attorneys’ fees and costs, except
  as otherwise provided under the terms of their settlement agreement. (ECF No. 25).
          DONE and ORDERED in chambers, at Miami, Florida, this 18th day of December
  2018.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of Record
